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                                                                                 FILED
 1 Richard Caruso                                                                 MAR 0 2 2016
   1600 E. Vista Way #85
 2 Vista, CA 92084                                                          CLERK US DISTRICT COUR
   Ph: 760-888-7418                                                      SOUTHERN DISTRICT OF CALlFC RNIA
                                                                         BY                , . r ~ DE UTY
 3

 4   Plaintiff In Pro Se
 5
 6
 7

 8                  IN THE UNITED STATED DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
 9
10   RICHARD CARUSO,                                                      0
                                                         Case Nti6 CV 534 WQH                JMA
11                                                        COMPLAINT FOR
12
                           Plaintiff,
                                                          p~~~~~1\:Wr.n.t~CTIVE
13                                                       1) TELEPHONE COMMUNICATIONS
   NATIONAL RECOVERY AGENCY, a                  CONSUMER PRACTICES ACT
14 business entity form uilkllown,               (TCPA) 47 U.S.C.§227 et.seq.;
   TRANS UNION LLC, a business entity
15 a National Credit Reporting Agency ("eRA,t 2) VIOLATIONS OF FEDERAL FAIR
   EXPERIAN INFORMATION SOLUTIONS INC.                       DEBT COLLECTION PRACTICES
16 a business entity, a National Credit                      ACT(FDCPA) §1692 et seq.
     RejJorting Agency ("CRA")
17 DOES 1 THROUGH 10, inclusively,                        3) VIOLATIONS OF FEDERAL FAIR
                                                              CREDIT REPORTING ACT;
18
                           Defendants.                        (FCRA) 15 U.S.C.§1681 et seq.
19
                                                         4) VIOLATIONS OF CALIFORNIA'S
20                                                          CONSUMER CREDIT
                                                            REPORTING AGENCIES ACT;
21                                                          CCRAA) CIV. CODE §1785 et seq.
22                                                       5) VIOLATIONS OF CALIFORNIA'S
                                                            ROSENTHAL FAIR DEBT
23                                                          COLLECTIONS PRACTICES ACT
                                                            CALIFORNIA CODE CIV.§1788 et seq.
24
                                                         6) DECLARATORY RELIEF
25
                                                          DEMAND FOR JURY
26                                       I 'IIIVI I" I   I I'" T

27         COMES NOW, RICHARD CARUSO, Plaintiff, In Pro Se in the above-
28 entitled case as an individual herebv sues the above-named Defendants and makes

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 1 the following allegations and claims against all of these same said Defendants for
 2 strict statutory violations of the Telephone Communications Consumer Practices Act
 3 (TCPA) 47 U.S.C.§227 et.seq, Consumer Fair Debt Collection Practices Act (FDCPA)
 4 15 U.S.C. § 1692 et seq., for violations of the Telephone Communications Practices
 5 Act (TCPA) 47 U.S.C. §227(a)(iii), and also for violations ofthe California
 6 Rosenthal Fair Debt Collection Practices Act Civil Code Section 1788 et seq.
 7                      I.   PRELIMINARY STATEMENT
 8         1. This is an action for damages and injunctive relief brought to this Ninth
 9 Circuit U.S. District Court by PlaintiffRlCHARD CARUSO against all of the
10 following named Defendant's as follows.

11         •       NATIONAL RECOVERY AGENCY, a business entity, form unknown,
12         •       TRANS UNION LLC, a business entity, a National Credit Reporting
13 Agency ("CRA") as defmed by 15 U.S.C. §1681(f).

14         •       EXPERlAN INFORMATION SOLUTIONS INC., a business entity,
15 a National Credit Reporting Agency ("CRA") as defined by 15 U.S.C. §1681(f).
16         •       DOES 1 THROUGH 10, inclusively, for numerous statutory violations
17 of the Telephone Consumer Practices Act's (TCPA's) as follows: •
18         •       47 U.S.c. §227(b)(I)(A) (TCPA);
19         •       47 U.S.C. §227(b)(I)(A)(iii), (TCPA);
20   for strict statutory violations of the Fair Debt Collection Practices Act's (FDCPA's)
21 as follows: •
22         •       15 U.S.C.§1692c(a)(1), Fair Debt Collection Practices Act (FDCPA)
23         •       15U.S.C.§1692d(5), Fair Debt Collection Practices Act (FDCPA)
24         •       15 U.S.C.§ 1692d(6), Fair Debt Collection Practices Act (FDCPA)
25         •       15 U.S.c. §1692e(10), Fair Debt Collection Practices Act (FDCPA)
26 for strict statutory violations of the California Rosenthal Fair Debt Collection
27 Practices Act (CFDCPA) as follows: •
28         •       California Code of Civil Procedure § 1788 et seq.

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 1         6.   The FDCPA regulates the behavior of collection agencies attempting to
 2 collect a consumer debt on behalfoj another entity. The United States Congress has
 3 found abundant evidence ofthe use of abusive. deceptive. and unfair consumer debt
 4 collection practices contribute to a number of personal bankruptcies. marital
 5   instability. loss ofjobs. and invasions ofindividual privacv. Congress enacted the
 6 FDCPA to eliminate abusive consumer debt collection practices by debt collectors,
 7 to ensure that those debt collectors who refrain from using abusive debt collection
 8 practices are not competitively disadvantaged, and to promote uniform State action

 9 to protect consumers against debt collection abuses described in[15 U.S.C. § 1692(a)-(e)].
10         7.   The FDCPA is a strict liability statute, which provides for actual and
11 statutory damages upon the showing of one violation. The Ninth Circuit has held

12 that whether a debt collector's conduct violates the FDCPA should be judged from
13 the standpoint ofthe "least sophisticated' consumer. [Baker v. G.C. Services Corp.,
14 677 F.2d 775,778 (9th Cir. 1982); Swanson v. Southern Oregon Credit Service, Inc.
15 869 F.2d 1222, 1227(9th Cir. 1988)]. This objective standard "ensure[s] that the
16   FDCPAprotects all consumers, the gullible as well as the shrewd ... the ignorant,
17 the unthinkable and the credulous." [Clomon v. Jackson, 988 F.2d 1314,1318-19
18 (2nd Cir. 1993)].

19         8.   To prohibit deceptive practices the FDCPA, at 15 U.S.C.§1692e,
20 outlaws the use ofJalse, deceptive, and misleading collection letters and names a
21 non-exhaustive list of certain per se violations ofJalse and deceptive collection
22 conduct 15 U.S.C.§1692e(1)-(16).
23         9.   To prohibit harassment and abuses by debt collectors the FDCPA, at
24 15 U.S.C.§1692d, provides that a debt collector may not engage in any conduct the
25 natural consequences oj which is to harass, oppress, or abuse any person in
26   connection with the collection oj a consumer debt and names a non-exhaustive list
27 of certain per se violations of harassing and abusive collection conduct
28 15 U.S.C.§1692d(I)-(6). Among these per se violations prohibited by this section

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 1   are: any collection activities and the placement of telephone calls without
 2 meaningful disclosure of the callers identity [15 U.S.C.§1692d(6)].
 3         10. The FDCPA also prohibits, at15 U.S.C.§ 1692c, without the prior
 4 consent of the consumer given directly to the debt collector, or the expre~s written

 5    ermission ofa court of competent jurisdiction, or as reasonably necessary to
 6 effectuate a post judgement judicial remedy, communication by a debt collector in
 7 connection with the collection of any consumer debt., with any person other than the
 8 consumer, his attorney, a consumer reporting agency if otherwise permitted by law,
 9         11.   The RFDCPA regulates collection agencies and original creditors the
10 creditor, the attorney of the creditor, or the attorney ofthe consumer debt collector.
11   has determined that the banking and credit system and grantors of credit to
12 consumers are dependent upon the collection ofjust and owing debts and that
13 unfair or deceptive collection practices undermine the public confidence that is
14 essential to the continued functioning ofthe banking and credit system and sound
15 extensions of credit to consumers. The Legislature has further determined that there
16 is a need that debt collectors exercise their responsibility with fairness, honesty, and
17 due regardfor the debtor's rights and that debt collectors must be prohibitedfrom
18 engaging in unfair or deceptive acts or practices.
19                   II. JURISDICTION AND VENUE
20         12. Jurisdiction of this Court arises under 47 U.S.C.§227(b)(3) and
21 15 U.S.C. § 1692(k)(d), supplemental jurisdiction also exists for the state law claims
22 pursuant to California Stat.§1788 and California Code of Civil Procedure §410.10.
23         13. The following above-named Defendants:
24         •     NATIONAL RECOVERY AGENCY, a business entity, form unknown,
25         •      TRANS UNION LLC., a business entity, a National Credit Reporting
26 Agency ("CRA") as defined by 15 U.S.c. § 1681(f).
27         •      EXPERIAN INFORMATION SOLUTIONS, INC., a business entity,
28 a National Credit Reporting Agency ("CRA") as defined by 15 U.S.C. § 1681(f).

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 1         •     DOES 1 thru 10 inclusively, all conduct business in the State of
 2 California and therefore, personal jurisdiction is established. The jurisdiction of this
 3 courtis further conferred by 15 U.S.C.§1681p.

 4         14. Venue is proper pursuant to 28 U.S.C. § 1391b and California Civil
 5 Procedure §395(a). Venue in this Ninth District is proper in that Plaintiff
 6 RICHARD CARUSO resides in San Diego County.
 7         15.   The Defendant's all transact business in San Diego County, and the
 8 conduct complained of occurred in San Diego County.
 9         16. This is an action for damages which exceeds $50.000.00 Us. Dollars
10                 III.    PRIVATE RIGHT TO ACTION
11         17. FCRA Sections 616 and 617, U.S.C. §16810, create private right of
12 action consumers can bring against violators of any provision of the FCRA with

13 regards to their credit. In DiMezza v. First USA Bank, Inc. supra, the court

14 confirmed that "[ ... ] the plain language of[CRA Sections 616 and 617,15
15 U.S.C.§1681n and §16810] provide a private right of action for a consumer against

16 furnishers of information who have willfully or negligently failed to perform their
17 duties upon notice of a dispute. [... ] there is a private right of action for consumers
18 to enforce the investigation reporting duties imposed on furnishers of information."
19         18. Gorman v. MBNA America Bank, N.A., No. 06-17226 further established
20 Private Remedy Against Furnishers by consumers and FCRA Section 1681 s-2(b)

21 triggers Defendants' furnisher's liability under this section, since Plaintiff made his
22 initial written disputes with the credit reporting agencies.
23         19.   California Civil Code §1785.15(f) expressly states that consumers
24 "have a right to bring civil action against anyone [... ], who improperly obtains
25 access to a file, knowingly or willfully misuses file data, or fails to correct
26 inaccurate file data" concerning a consumer's credit report. Plaintiff has further
27 right to action pursuant to Cal. Civ. Code §1785.31(a), which states that Plaintiff as
28 "any consumer who suffers damages as a result of a violation of this title by any


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 1 person may bring an action in a court of appropriate jurisdiction against that person
 2 to recover actual, statutory, and punitive damages together with attorneys fees and
 3 costs, pursuant to 15 U.S.C. § 1692(d)(5), together with such other and further relief
 4 as the Court may deem reasonable and just under the circumstances.
 5         20.   Sanai v. Saltz, et aI., 2009 Cal. App. LEXIS 83 (Cal. App. 2d Dist.
 6 Jan. 26, 2009) established that consumers may re-plead their FCRA claims as
 7 violations ofthe CCRAA and that State claims are not preempted by the FCRA.
 8 In further support, courts have uniformly rejected creditors' and consumer reporting
 9 agencies' arguments that the FCRA bars State law claims. See Sehl v. Safari Motor
10 discussion); Harper v. TRW, 881F. Supp. 294 (U.SD.C. S.D. Mich. 1995);
11 Coaches, Inc., 2001 U.S. Dist. Lexis 12638 (U.S.D.C. N.D. Cal. 2001);
12    ule v. Ford Receivables, 36 F. Supp.2d 335 (U.S.D.C. S.D. Va. 1999);
13 Watkins v. Trans Union, 118F. Supp.2d 1217 (U.SD.C. N.D. Ala. 2000);
14 Swecker v. Trans Union, 31 F. Supp.2d 536 (U.S.D.C. E.D. Va. 1998);
15 Saia v. Universal Card Svc., 2000 U.S. Dist. Lexis 9494,2000 Westlaw 863979
16 (U.S.D.C. E.D. La. 2000); Sherron v. Private Issue by Discover, 977 F. Supp.2d 804
17 (U.S.D.C. N.D. Miss 1997); Hughes v. Fidelity Bank, 709 F. Supp.2d 639,
18 (U.S.D.C. E.D. Pa. 1989).
19         21. 15 U.S. C.§ 1692k(a) states that " ... any debt collector who fails to comply
20 with any provision of this title with respect to any person is liable to such person in
21 an amount equal to the sum of-."
22         22.   Cal Civ. Code §1788.30(a) states that "any debt collector who violates
23 this title with respect to any debtor shall be liable to that debtor only in an individual

24 action... "
25                              IV. THE PARTIES
26         23.   Plaintiff RICHARD CARUSO, (hereinafter "CARUSO") is a natural
27 person and a resident ofthe State of California, San Diego North county, Vista,
28 92084.

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 1         24.   Upon infonnation and beliefthe following Defendant's
 2         •      NATIONAL RECOVERY AGENCY, (hereinafter "NRA") is a
 3 nationwide provider of accounts receivable management and consumer debt
 4   collection service which purchases and collects alleged negative consumer debts
 5 from other companies. NRA's corporate offices are located at 2491 Paxton Street,

 6 Harrisburg, PA, l711l.
 7         •     TRANS UNION LLC, (hereinafter" TV") a business entity, or a
 8 National Credit Reporting Agency ("CRA") as defined by 15 U.S.C. §1681(t) with

 9 their corporate offices located at 2 Baldwin Place, Chester, PA, 19022.
10         •     EXPERIAN INFORMATION SOLUTIONS, INC., (hereinafter "EIS"),
11   a business entity, or a National Credit Reporting Agency ("CRA") as defmed by 15
12 U.S.C. §168l(t) with their corporate offices located at 601 Experian Pkwy,
13 Allen TX, 75013.
14
           •     DOES 1 thru 10 inclusively, collectively, these defendants NRA, TV,
15 EIS and DOES 1-10 hereto will be referred to as "credit bureau defendants" or
16 "credit agency defendants", is a consumer creditor which, among other activities,
17 reports allegedly delinquent consumer debts to credit bureaus and is a "furnisher" of

18 negative consumer credit to credit bureau defendants as defined by
19 15 U.S.c. § 1681(t).
20         26.   Defendants Does 1 thru 10, are individuals and business entities, fonn
21 unknown, doing business in the State of California as credit reporting agencies, debt
22 collection agencies, creditors or other persons or entities which engage in credit
23 reporting and/or debt collection. Does 1-10, Inclusive, includes individuals or
24 business entities doing business in the State of California as credit reporting
25 agencies, debt collectors and/or creditors who have refused to delete accounts of
26 Plaintiff that were procured through identity theft, mixed file or other manner of
27 recording an inaccurate credit account, even after Plaintiff has notified them of the
28 false or inaccurate derogatory consumer credit infonnation, and also who have

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 1 reported such accounts as derogatory credit references to credit reporting agencies
 2 (hereinafter "CRA's").
 3         27.    Plaintiff TUCK does not know the true names and capacities, whether
 4 corporate, partnership, associate, individual or otherwise of Defendants sued herein
 5 as Does 1 through 10, inclusive, under the provisions of Section §4 74 ofthe
 6 California Code of Civil Procedure. Plaintiff is informed and believes and on that

 7 basis alleges that Defendants Does I through 10, inclusive, are in some marmer
 8 responsible for the acts, occurrences and transactions as officers, directors or
 9 managing agents of Defendants or as its agents, servants, employees and/or joint
10 ventures and as set forth in this Complaint, and that each of them are legally liable to
11 Plaintiff, as set forth below and herein:
12         a)     Said Officers, directors or managing agents of Defendants personally
13 acted willfully with respect to the matters alleged in this Complaint;
14         b.    Said Officers, directors or managing agents of Defendants personally
15 authorized, approved of, adopted and/or ratified the acts alleged herein or the agents,
16 servants, employees and/or joint ventures of Defendants did so act;
17         c.    Said Officers, directors or managing agents of Defendants personally
18 participated in the acts alleged herein of the Defendants;
19         d.    Said Officers, directors or managing agents of Defendants personally had
20 close supervision of their agents, servants, employees and/or joint ventures of
21 Defendants·,
22         e.    Said Officers, directors or managing agents of Defendants personally
23 were familiar with the facts regarding the matters alleged herein;
24         f.    Said Officers, directors or managing agents of Defendants personally
25 failed to investigate the circumstances appertaining to the acts alleged herein.
26 They also failed and refused to repudiate the herein alleged actions and failed to
27 redress the harm done to Plaintiff TUCK. Further, said Officers, directors, or
28 managing agents of Defendants failed and refused to punish or discharge the said

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 1 agents, servants, employees and/or joint venturers of the Defendants.
 2 Plaintiff will seek leave to amend this complaint to set forth the true names and

 3 capacities of the said fictitiously named Defendants as enumerated above, together

 4 with appropriate charging allegations, when learned.
 5         28.   Plaintiff is informed and believes, and thereon alleges that at all relevant
 6 times herein each Defendant, whether actually or fictitiously named, was the
 7 principal, joint venturer, agent, servant or employee of each other Defendant, and in
 8 acting as such within the course, scope and authority of such relationship, took soem
 9 part in acts and omissions hereinafter set forth, by reason of which each Defendant is
10 liable to Plaintiff for the relief prayed for in this Complaint, and any future amended

11 Complaint. Further, Plaintiff alleges that each act alleged herein, whether by named
12 Defendants or fictitiously named Defendants or otherwise, was expressly authorized
13 or ratified, as these terms are used in California Civil Code Section §3294(b), by
14 each and every other Defendant herein, whether named or fictitiously named.
15         29.   Collectively, these defendants NRA, TU, EIS and DOES 1-10 hereto wil
16 be referred to as "credit bureau defendants" or "credit agency defendants", is a
17 consumer creditor which, among other activities, reports allegedly delinquent

18 consumer debts to credit bureaus and is a "furnisher" of negative consumer credit to
19 credit bureau defendants.
20                     V. FACTUAL ALLEGATIONS
21         30.   Plaintiff CARUSO has no prior or present established relationship with
22 the defendants NRA, TU, EIS and DOES 1-10 hereto as it pertains to ANY negative

23 consumer debt account or anv other alleged accounts in anv amounts.
24         31. Plaintiff CARUSO has no contractual obligation to pay defendants
25 NRA, TU, EIS and DOES 1-10 hereto anything.

26         32. Plaintiff CARUSO has never given defendant NRA and DOES 1-10
27 express written permission to call Plaintiffs cellular phone more than thirty nine
28 (39) times, many times more than once in the same business day, between


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 1 the dates of May 5, 2015 and today's date.
 2         33. Defendant NRA and DOES 1-10 hereto called Plaintiffs
 3 private cell phone numbers (760) 877-4404, (760) 877-0400, (760) 888-7418 from
 4 phone numbers (800) 773-4503, (800) 888-4213, (800) 360-4319, (717) 540-5605
 5 more than thirty nine (39) times, many times multiple calls all in the same business
 6 day, clearly violating 15 U.S.C. §1692c(a) ofthe (FDCPA).
 7         34. Plaintiff CARUSO hereby moves this Ninth District honorable court to
 8 take "Judicial Notice" that none ofthe more than thirty nine (39) harassing
 9 consumer debt collection calls placed by defendants NRA and DOES 1-10 hereto,
10 between the dates of May 5, 2015 and today's date were made fOr emergency
11    ur oses, clearly violating United Stated Code 47 U.S.C. §227(b)(I)(A)(iii), of the
12 (TCPA).

13         35. Plaintiff CARUSO further informs this honorable court that between the
14 dates of May 5, 2015 and today's date defendants NRA and DOES 1-10

15 called Plaintiffs private cell phone numbers (760) 877-4404, (760) 877-0400,
16 (760) 888-7418 from phone numbers (800) 773-4503, (800) 888-4213,
17 (800) 360-4319, (717) 540-5605 more than thirty nine (39) times, many times

18    lacin numerous harass in collection calls in the same business da violating the
19 TCPA's strict statutory guidelines by using automatic telephone dialing system

20   capabilities or artificial or prerecorded messages or voices on the Plaintiffs cell
21 phone numbers (760) 877-4404, (760) 877-0400, (760) 888-7418 clearly violating

22 47 U.S.C. §227(b)(1 )(A) (TCPA) more than thirty nine (39) times.

23         36. Between the dates of May 5, 2015 and today's date, defendants NRA
24 and DOES 1-10 called Plaintiff CARUSO's private cell phone numbers (760) 877-

25 4404, (760) 877-0400, (760) 888-7418 from phone numbers (800) 773-4503,
26 (800) 888-4213, (800) 360-4319, (717) 540-5605 more than thirty nine (39) times,
27 defendants NRA and DOES 1-10 asserted a right which it lacks to wit.
28   the right to enfOrce a consumer debt allegedly owed by Plaintiff CARUSO to the

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 1 above-listed Defendants.
 2         37. Between the dates May 5, 2015 and today's date defendants NRA and
 3 DOES 1-10 called Plaintiffs cell phone numbers (760) 877-4404, (760) 877-0400,
 4 (760) 888-7418 from phone numbers (800) 773-4503, (800) 888-4213, (800) 360-
 5 4319, (717) 540-5605 more than thirty nine (39) times times, failed to identifY that
 6 they were consumer debt collectors trying to collect on a alleged negative consumer

 7 debt originating between the years of2015 to the present date, this same consumer
 8 debt allegedly owed to the defendant's NRA and DOES 1-10 by Plaintiff CARUSO.
 9         38. On numerous occasions, the Plaintiff has demanded in writing that
10 above- named defendant's NRA, TU, EIS and DOES 1-10 provide Plaintiff
11 CARUSO with written "verification" and consumer debt validation and defined by
12 15 U.S.C.§ 1692g(1 )(2)(5)(b) and the California Consumer Protection Statutes and

13 Laws, as it pertained to any/all alleged consumer debt[s], to date all defendant's in
14 the above-entitled case have ignored all attempted communications by phone, email,
15 in writing, or otherwise, clearly demonstrate willful and non-compliance with
16 47 U.S.C. §227(b)(I)(A), (TCPA).
17         39   Defendants NRA and DOES 1-10 by and thru their above-described
18 actions violated the strict statutory guidelines set forth in § 1692d of the Fair Debt
19 Collections Practices Act (FDCPA) by engaging in conduct the natural

20 consequences ofwhich is to harass, oppress, or abuse the Plaintiff by calling his
21 cell phone on more than thirty nine (39) separate occasions over a ten (10) month

22 period of time from May 5, 2015 to today's date.
23 Many ofthese cell phone calls were placed befOre the early morning hours of8:00
24   am, and many of these same abusive calls were placed multiple times on the very
25   same dav, all of which the Plaintiff has to pay for on his monthly cellular phone bilL
26         40. Defendants NRA and DOES 1-10, clearly violated section §1692d(5)
27 of the Fair Debt Collection Practices Act (FDCPA) and at the very same time
28 violated the California Rosenthal Fair Debt Collection Practices Act Section

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 1 §1788.17 (CFDCPA), by calling Plaintiff CARUSO on his personal cell phones on
 2 more than thirty nine (39) separate occasions and caused Plaintiff CARUSO's

 3 cellular phone to ring repeatedly and continuously with the intent to annoy, abuse, or
 4 harass him into paying alleged consumer debts.

 5         41. The same consumer debt allegedly owed to all of the Defendant's herein
 6 arose out of a transaction that was primarily for personal. familv. or household
 7 vurvoses.
 8         42.   As Plaintiff has no business debt, this same alleged business debt
 9 vresentlv souflht now bv defendants NRA and DOES 1-10 hereto,
10   could only have been used fOr personal purposes.
11         43. During this same period of time defendants NRA, TU, EIS and
12 DOES 1-10 hereto, ignored all written attempts by Plaintiff CARUSO to have the
13 defendants NRA and DOES 1-10 cease and desist all collection activities

14 immediately, instead, the Defendants commenced an onfloinfl almost dailv camvaifln
15 over a more than ten (JOJ month veriod of time to harass abuse and coerce Plaintifi
16 CARUSO into paying an alleged consumer debt.
17         44. On December 24,2015, Plaintiff CARUSO sent defendants NRA a
18 Notice ofIntention to Commence Action by Certified Mail Receipt No
19 # 70150640000045113966 which the Defendant received and signedfor on
20 December 30, 2015. To date defendant NRA has fully ignored these requests and to

21 date is not responding to any written communication efforts/demands made by the

22 Plaintiff.
23                                     VI. COUNTI
      VIOLATIONS OF THE TELEPHONE COMMUNICATIONS PRACTICES ACT
24          (TePA)       47
                     U.$iE(
                      N     ND
                                    i227(WBltl
                                    AGAINST DEFENDANTS
                                    THROUGH 10
25

26         45.   Plaintiff CARUSO re-alleges and restates all fo the foregoing
27 ~urisdictional   allegations and general factual allegations in paragraphs 1 thru 44
28 herein.


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 1         46.   In 1991, Congress enacted th TCPA 1 in response to a growing number
 2 of consumer complaints regarding certain telemarketing practices.
 3         47.   The TCPA regulates, among other things, the use of Voice and AIDS.
 4 Specifically, the plain language of Section §227(b)(1 )(A) prohibits the use of an
 5 AIDS to make any call to a wireless number, or to use a Voice during such a call, in
 6 the absence of an emergency or the prior express written consent of the called party.2
 7         48.   According to findings by the FCC, the agency Congress vested with
 8 authority to issue regulations implementing the TCPA, such calls are prohibited
 9 because, as Congress found, telephone calls using a Voice or an ATFS are a greater
10 nuisance and invasion of privacy than live solicitation calls, and such calls can be

11 costly and inconvenient. The FCC also recognized that wireless customers are
12 charged for incoming calls whether they pay in advance or after the cell phone

13 minutes are used. 3
14         49.   On January 4, 2008, the FCC released a Declaratory Ruling wherein it
15 confirmed that Voice and ATDS consumer debt collection calls to a wireless cell

16 phone number by creditor or consumer debt collector are permitted only if the calls

17 are made with the "prior express written consent" ofthe called party. 4 The FCC

18 "emphasize[d] that prior express written consent is deemed to be granted only if the

19 wireless number was provided during the transaction that resulted in the debt owed 5

20         50.    The Declaratory Ruling further dictates that: " a creditor on whose
21 behalf an autodialed or prerecorded message call is made to a wireless number bears

22 the responsibility for any violation of the Commission's rules. Calls placed by a
23 third party consumer debt collector on behalf of that creditor are treated as if the

24 creditor itself placed the call." 6

25 I Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394 (1991),
   codiified at 47 U.S.C. §227 (TCPA). The TCPA amended Title II ofthe Communications Act of
26 1934,47 U.S.C. §201 et. seq.
   247 U.S.C. §227(b)(l)(A).
27 3 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CO
   Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).
28 4 In the Matter ofRules and Regulations Implementing the Telephone Consumer Protection Act of
   1991 ("FCC Declaratory Ruling"), 23 F.C.C.R. 559,23 FCC Rcd. 559,43 Communications Reg.
   (P&F) 877, 2008 WL 65485 (F.C.C.) (2008).
   5 FCC Declaratory Ruling, 23 F.C.C.R. at 564-65 (~ 10).


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 1         51.    Under the TCPA and pursuant to the FCC's January 2008 Declaratory
 2 Ruling, the burden is on the defendant's NRA and DOES 1-10, to demonstrate that

 3 Plaintiff CARUSO gave his prior express written consent to use a Voice or an
 4 AIDS call to his cell phones within the meaning ofthe statute.     7

 5         52.   At all times pertinent hereto, defendant's NRA and DOES 1-10, has
 6 carried on its business by engaging in consumer debt collection practices. The

 7 defendant's NRA and DOES 1-10, all of them have made telephone calls to the

 8 cellular telephones of consumers for purposes of collecting consumer debts
 9 allegedly owed to them.
                                                              \
10 I.      First Challnged Practice: Defendants NRA and DOES 1-10
           Debt Collectors'Calls To Cellular Telephones Using a Voice And/Or
11         AnATDS
12         53.   At all times pertinent hereto, the defendant's NRA and DOES 1-10 , as
13 Debt Collectors, have utilized a Voice during consumer debt collection calls made
14 to the cellular telephones of consumers who had not, during the transaction that

15 resulted in the alleged consumer debt, previously given defendant's NRA and

16 DOES 1-10, express written permission or consent to receive such calls.
17         54.   Calls utilizing Voice allow defendant's NRA and DOES 1-10, to
18 collect more debt.
19         55.   At all times pertinent hereto, defendant's NRA and DOES 1-10,
20   have utilized a Voice during debt collection calls which is one of this
21 "industries newest innovations" which is "agentless" recorded messages as
22 reminders."
23         56.   At all times pertinent hereto, defendant's NRA and DOES 1-10 all
24 consumer debt collectors, have utilized a Voice, including a predictive dialer, to
25 make debt collection calls to the private cellular telephones of consumers who had

26 not, during the transaction that resulted in the alleged consumer debt, ever
27 previously given defendant's NRA and DOES 1-10 express written permission or
28 consent to receive such calls.


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 1         57.   A predictive dialer is an AIDS within the meaning of the TCPA,
 2 because it is equipment that, when paired with certain computer software, has the
 3 capacity to store or produce telephone numbers to be called and without human
 4 intervention to dial such numbers at random, in sequential order, and/or from a
 5 database of numbers.
 6         58.   Defendant's NRA and DOES 1-10 has entered into written contracts
 7 with all of its subsidiaries to use predictive dialers, for example, the terms of
 8 the Collection Services Agreement utilized by defendant's NRA and DOES 1-10
 9 require that consumers be contacted "via mail and predictive dialer in an effort to
10 collect on past due balances." See Lee v. Credit Mgmt., LP, 2012 WL 113793,
11 at *11 & n.17 (S.D. Tex. 2012).
12         59. Calls utilizing an ATDS allow defendant's NRA and DOES 1-10
13 to collect more debt.
14         60.   At all times pertinent hereto, defendant's NRA and DOES 1-10
15 has been aware that its employees/personnel have utilized an ATDS because,
16 inter alia, the use of an AIDS is standard industry practice among consumer debt
17 collectors., the "predictive dialer enables us to reach more of our client's while
18 maintaining a cost-effective approach"and that the "dialer *** completes call
19 campaigns more quickly*** conducts the most effective calling strategies ***."
20         61.   On information and belief, within the past six (6) years, NRA and
21 DOES 1-10 have placed ten ofthousands of Voice and/or AIDS calls to the cellular
22 telephones of consumers who had not, during the transaction that resulted in the
23 alleged consumer debt,previous/y given defendant's NRA and DOES 1-10
24    rior written express consent to receive such calls.
25 II.     Second Challen2ed Practice: Defendants NRA AND DOES 1-10
           Making Calls To Cellular Telephones Using A Voice And/Or An ATDS
26
27         62.   At all times pertinent hereto, defendant's NRAand DOES 1-10 has
28 utilized a Voice during consumer debt collection calls to the cellular telephones of

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 1 consumers who had not, during the transaction that resulted in the consumer debt,
 2 previously given defendant's NRA and DOES 1-10 express written consent to
 3 receive such calls.
 4          63. At all times pertinent hereto, defendant's NRA and DOES 1-10 has also
 5 utilized an ATDS, including a predictive dialer, to make consumer debt collection
 6 calls to the cellular telephones of consumers who had not, during the transaction that
 7 resulted in the debt, previously given defendant's NRA and DOES 1-10
 8 express written consent to receive such calls.
 9          64. On information and belief, within the past six years, defendant's NRA
10 and DOES 1-10 has made thousands of Voice and/or ATDS calls to the cellular
11 telephones to consumers who had not, during the transaction that resulted in the
12 alleged debt, previously given defendant's NRA and DOES 1-10 prior express
13    written consent to receive such calls.
14    ID.   Plaintiff RICHARD CARUSO
15          65. Plaintiff RICHARD CARUSO is a "person" as defined by
16    47 U.S.C.§153(39).
17          66. In 2015, Plaintiff CARUSO began receiving automated telephone calls
18    from defendant's NRA and DOES I-lOon his cellular telephones.
19          67. For Example, Plaintiff CARUSO's T-Mobile cell phone records show
20    that he received incoming calls from defendant NRA and DOES lOon at least one
21    of the following dates:
22          a.     December 6,2015;            (two calls from Phone # (800) 360-4319)
23          b.     December 7, 2015;           (four calls from Phone # (800) 888-4213
24          c.     December 8, 2015;           (four calls from Phone # (800) 888-4213
25          d.     December 11,2015;           (four calls from Phone # (800) 888-4213
26          e.     December 15,2015;           (three calls from Phone # (800) 773-4503
27          f.     December 16,2015;       (four calls from Phone # (800) 773-4503)
28          g.     December 17,2015;           (three calls from Phone # (800) 360-4319

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 1         h.     December 18,2015;          (two calls from Phone # (800) 360-4319
 2         1.     December 20, 2015;         (three calls from Phone # (800) 360-4319
 3         J.     January 2, 2016;           (four calls from Phone # (800) 360-4319
 4         k.     February 17, 2016          (four calls from Phone # (800) 360-4319
 5         68.    Defendant's NRA and DOES 1-10 placed a multitude of other calls to
 6 Defendant CARUSO's private cell phone numbers over the past 10 months,
 7   more than this defendant cares to document in this Complaint, but the finding of
 8   and exact amount ofthese multiple harassing calls can be found out by
 9 Plaintiff CARUSO during the Discovery process of this Complaint for Damages all(
10   Injunctive Relief set for Jury trial.
11         69.    Plaintiff CARUSO has no relationship with the Defendant's NRA, TU,
12   EIS and DOES 1-10 There exists no contract between Plaintiff CARUSO and
13   Defendant's NRA TV, EIS and DOES 1-10 for arbitration or otherwise.
14         70.    Defendant's NRA and DOES 1-10 utilized a predictive dialer to make
15   all ofthe calls described above.
16         71.    Defendant's NRA and DOES 1-10 utilized a Voice durinf! at least some
17   ofthe more than thirty nine (39) calls placed cellular calls to the Plaintiffcellular
18   phones described above.
19         72.   All o/the calls described above were placed by Defendant's NRA and
20   DOES 1-10 to Plaintiff CARUSO's cellular phones solely to collect a consumer
21   debt allegedly owed to Defendant's NRA and DOES 1-10
22         73. (TCPA) 47 U.S.C. §227(b)(1)(A) states in part;
23         (b) RESTRICTIONS ON THE USE OF AUTOMATED TELEPHONE
                EQUIPMENT
24
           (1) PROHIBITIONS - It shall be unlawful for any person within the
25              United States, or R,erson outside the United States if the recipient is
               ,inside the United States -
26
           (A) to make anv call (other t~an a call made for emen encv Durnoses or made
27            WIth the PrIor express wntten consent or the calle( , party) usmg anv
               automatIC teleplione dialing system or an artiticla or pre-recorded voice .
28


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 1         74. Defendant's NRA and DOES 1-10 have demonstrated willful and
 2   knowing non-compliance with 47 U.S.C. §227(b)(1 )(A) bv using an automatic
 3   telephone dialing system to call the Plaintiffs cell phone numbers from May 5,
 4   2015 to the present date more than thirty nine (39) times. All of these same call's
 5 were made to plaintiffs private cell phone numbers (760) 877-4404, (760) 877-
 6 0400, (760) 888-7418 from phone numbers (800) 773-4503, (800) 888-4213,
 7   (800) 360-4319, (717) 540-5605 more than thirty nine (39) times even thought the
 8 plaintiff CARUSO's cell phone numbers (760) 877-4404, (760) 877-0400,
 9 (760) 888-7418 have all been listed on the "National Do Not Call List" since
10 August 20,2010.
11         75. Defendant's NRA and DOES 1-10 have committed more than thirty
12 nine (39) separate strict statutory violations of 47 U.S.C. §227(b)(1)(A).
13   Accordingly Plaintiff CARUSO is entitled to statutory damages in the amount of
14   $500 dollars U.S. for the first "unintentional" consumer
15   collection call made to Plaintiff CARUSO by the Defendant's NRA and
16 DOES 1-10 on December 6,2015, pursuant to 47 U.S.C. §227(b)(1)(A).
17         76. Plaintiff CARUSO is also entitled to treble damages in the amount of
18   $1500.00 U.S. dollars for each of the additional thirty eight (38) "intentional"
19 consumer debt collection calls placed by Defendants NRA and Does 1 thru 10, to
20   the plaintiffs private cell phone numbers (760) 877-4404, (760) 877-0400,
21   (760) 888-7418. After this initial first "unitentional" call pursuant to
22   47 U.S.C. §227(b)(3)(B). Defendant's NRA and DOES 1-10 have demonstrated
23   willful and knowing non-compliance with 47 U.S.C. §227(b)(3)(B) as those calls
24 were ALL "intentional", meaning the last thirty eight (38) consumer debt collection
25   calls placed by Defendant's NRA and DOES 1-10 to Plaintiff CARUSO's cellular
26   phone are subject to treble damages, or $1500 per call pursuant to
27 47 U.S.c. §227(b)(3)(B) .
28

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 1          77. Defendant's NRA 1-10 have also demonstrated willful or knowing
 2 non-compliance with 47 U.S.C. §227(b)(I)(A)(iii) as 28 ofthe consumer debt
 3   collection calls made by the defendant's NRA and DOES 1-10 to the Plaintiff are
 4 subject to treble damages pursuant to U.S.C. §227(b)(3) as these calls were
 5    intentional.
 6          78. Plaintiff CARUSO and Defendant's NRA and DOES 1-10 do not have
 7 an established business relationship within the meaning of 47 U.S.C. §227 et seq.
 8          WHEREFORE, Plaintiff CARUSO demands judgement for damages
 9 against defendant's NRA and DOES 1-10 for actual, statutory, and punitive
10   damages, attorney's costs and fees pursuant to 15 U.S.C. §227(b)(I)(A), together
11   with such other and further relief as the Court may deem reasonable and just under
12 the circumstances.
13
                                   VII. COUNT II
14    VIOLATIONS OF THE FAIR DEBT COLLECTIONS PRACTICES ACT(FDCPA)
                 15 U.S.CM2(c)(a)(1) AGAINST DEFENDANTS
15                          AND DOES 1 THROUGH 10
16          79. Plaintiff CARUSO re-alleges and restates all of the foregoing
17 jurisdictional allegations and general factual allegations in paragraphs 1 thru 78
18   herein.
19          80. 15 U.S.C. §1692(c)(a)(I) states in part;
20                COMMUN1CATION WITH THE CONSUMER GENERALLY
                  without the prior express written consent ofthe consumer given directly
21                to the consumer debt collector or the express permission of a court of
                  competent jurisdiction, a consumer debt collector may not communicate
22                with the consumer in connection with the collection ofthe debt.
23          81.   As previously alleged, Defendant's NRA and DOES 1-10 are all
24   "debt collectors" within the meaning ofthe Fair Debt Collection Practices Act,
25    15 U.S.C. Section §1692 et seq. defendant's NRA and DOES 1-10 are all engaged
26   in conduct proscribed by 15 U.S.C. Section § 1692e(8), namely, "Communicating or
27 threatening to communicate to any person negative consumer credit information
28   which is known or which should have known to be false, including the failure to

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 1 communicate that a disputed consumer debt is disputed" Plaintiff CARUSO
 2   reserves the right to allege other violations of the FDCPA as the facts of this case
 3   unfold.
 4         82.   Plaintiff CARUSO alleges Defendant's NRA and DOES 1-10 all
 5 violated other statutory provisions ofthe Federal Fair Debt Collection Practices
 6   Act, as follows:
 7                  a. 15 U.S.C. Section §1692d: defendants NRA DOES 1-10 and
 8 engaged in consumer debt collection efforts after they knew, and had detennined,
 9 that they had no basis for continuing to pursue plaintiff CARUSO that had the
10   natural consequences of harassing, abusing and oppressing the plaintiff
11   in concert or in con 'uction or unison with other named de endants contained herein
12   in the above-entitled federal complaint.
13                 b. 15 U.S.C. Section §1692e: defendants NRA DOES 1-10 and
14   have threatened action. or taken action. including threats of negative credit
15

16   credit reporting. that cannot legallY be taken because the alleged debt is not
17   Plaintiff CARUSO's consumer debt.
18                 c. 15 U.S.C. Section §1692f: defendants NRA and DOES 1-10 have
19   each used unfair or unconscionable means to collect or attempt to collect the allege
20   debt. Specifically, each has attempted to collect amounts not expressly authorized
21   by law or by any agreement, and have continued to attempt collection in spite of
22   cancellation of the underlying agreement. In essence, there is no agreement and no
23   obligation by which Mr. CARUSO owes any monies to defendant's NRA and
24   DOES 1-10 , yet defendants NRA and DOES 1-10 persists to this day in their
25   ongoing concerted campaign and harassing consumer collection efforts.
26         83.    Defendant's NRA and DOES 1-10 knew, or should have known that
27   they placed more than thirty nine (39) Voice and/or automated ADTS telephone
28   calls to plaintiffs private cell phone numbers (760) 877-4404, (760) 877-0400,

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 1 (760) 888-7418 from phone numbers (800)773-4503, (800) 888-4213,
 2    (800) 360-4319, (717) 540-5605 more than thirty nine (39) times, between the
 3    dates of May 5, 2015 to the present day, were both inconvenient, annoying, and
 4    cost her money on his cell phone bills that he had to pay for. All of these calls were
 5 made deliberately and intentionally, thus, NRA and Does 1 through 10 have
 6    committed thirty nine (39) separate and distinct statutory violations of 15 U.S.C.
 7    §1692(c)(a). Every single one of these illegally placed calls was made by
 8    defendant's NRA and DOES 1-10 without the prior express written consent of the
 9    consumer plaintiff CARUSO.
10          84. As a result of these statutory violations of the Federal Fair Debt
11    Collection Practices Act by Defendant's NRA DOES 1-10 inclusively, plaintiff
12    CARUSO has suffered general and special damages according to proof, and is
13    entitled to a statutory penalty for each separate violation of Act.
14          WHEREFORE, Plaintiff CARUSO demands judgement for damages and
15    injunctive relief against Defendant's NRA and DOES 1-10 inclusively, for actual
16    statutory and punitive damages, attorney's fees and costs pursuant to 15 U.S.C.
17    § 1692(c )( a), together with such other and further relief as the Court may deem
18   reasonable and just under the circumstances.
19
20
                                     VIII. COUNT III
       VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                       ~169~5rlBY DEFENDANTS
21                               RA          OES 1 THROUGH 10
22          85. Plaintiff CARUSO re-alleges and restates all of the foregoing
23   jurisdictional allegations and general factual allegations in paragraphs 1 thru 84
24   herein.
25
26
27
28


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 1          87.15 U:S.C. §1692(d)(5) s~ates in par~;               .
 2
               Causmg a telephone to rIng or engagmg anY_Derson m a telephone
               conversation repeatedly or continuouslv witn the intent to annoy, abuse,
 3
               or harass any person at the called number.

 4
            88    Defendant's NRA and DOES 1-10 inclusively, violated 15 U.S.C.
 5 §1692(d)(5) by calling plaintiffs private cell phone numbers (760) 877-4404, (760
 6    877-0400, (760) 888-7418 from phone numbers (800) 773-4503, (800) 888-4213,
 7    (800) 360-4319, (717) 540-5605 more than thirty nine (39) times, {many times
 8 before 8:00 am in the morning} {many times calling multiple times in the same day}
 9 directly causing the Plaintiffs personal cell phone to ring repeatedly and
10    continuously with the intent to annoy. abuse. or harass the plaintiff. Every single
11    one of these placed calls were placed by defendant's NRA and DOES 1-10
12    without the prior express written consent of the consumer, plaintiff CARUSO
13          89.    During this same ten (10) month period oftime between
14    May 5, 2015 to the present day defendant's NRA and DOES 1-10 stafflperonnel
15    intentional and repeatedly called plaintiff CARUSO more than thirty nine (39)
16 times private cell phone numbers (760) 877-4404, (760) 877-0400, (760) 888-7418
17    from phone numbers (800) 773-4503, (800) 888-4213, (800) 360-4319, (717) 540-
18    5605 more than thirty nine (39) times, This has caused this plaintiff undue stress,
19    confusion, and long term nervousness and embarrassment, including unexpected
20    increased cell phone bills that this plaintitfcould ill afford.
21      90. Plaintiff CARUSO alleges that Defendant's NRA and DOES 1-10 caused his
22    cell phones to ring on more than thirty (39) separate occasions between the dates
23    of May 5, 2015 to the present day, by causing him to answer these calls and either
24    engage in a conversation with defendant's NRA and DOES 1-10 staff or, have to
25    listen to numerous pre-recorded messages left by defendant's NRA and DOES 1-10
26    inclusively, staff on CARUSO's cell phone message service accounts, which
27    plaintiff CARUSO has to pay monies for.
28

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 1          WHEREFORE, plaintiff CARUSO demands judgement against defendant's
 2    NRA and DOES 1-10 inclusively, for actual, statutory, and punitive damages,
 3    attorneys fees and costs, pursuant to 15 U.S.C. §1692(d)(5), together with such
 4    other and further relief as the Court may deem reasonable and just under the
 5    circumstances.
 6
                                   VIlli. COUNT IV
 7    VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
 8                   15 U.S.C.Bt692(d~6) BY DEFENDANTS
                         NRA     D DO Sl THROUGH 10
 9          91. Plaintiff CARUSO re-alleges and restates all ofthe foregoing
10   jurisdictional allegations and general factual allegations in paragraphs 1 thru 90
11    herein.
12

13          92. 15 U.S.C. §1692(d) states in part;
14

15
16

17

18

19          93.   Defendant's NRA and DOES 1-10 inclusively, staff/personnel
20    violated 15 U.S.C. §1692(d)(6) (FCPA) by placing more than thirty nine (39)
21   automated and/or voice calls to plaintiff CARUSO's cell phones between the
22   dates of May 5, 2015 and the present day. On several occasions these very
23    same calls were made without meaningful disclosure of the caller defendant's
24   NRA and DOES l-lO's true identity. All thirty nine (39) calls were
25    independently placed at different times.
26          94.   Every single one of these more than thirty nine (39) phone calls
27   placed by defendant's NRA and DOES 1-10 inclusively, were being made
28   without the prior express written consent of the consumer plaintiff CARUSO.

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 1   This added to the plaintiffs daily confusion and anxiety about these very same
 2   calls.
 3            i.e.   Who is this person or machine on the other end o/the phone?
                     Why are they CaiHt1g me almost every day, many times a day?
 4                   Why are the)! leavIng these strange messages?
                     Why ~on 't {he people (when {hey do come on the line)
 5                   not listen to me ana stop calling me?
 6            95.    Defendant's NRA and DOES 1-10 are using the fact that the
 7   plaintiffs has mental issue's he takes prescribed by his doctor daily
 8   medicine's for by continually calling his personal cell phones sometime's
 9   more than once a day, to harass, annoy and coerce herin to paying an
10   alleged grosslY inflated non-existent consumer debt.
11            96.    Defendant's NRA and DOES 1-10 inclusively, thru mailed dunning
12   letters and phone numerous harassing phone calls to Plaintiff CARUSO
13   threatening to report this same alleged non-existent consumer debt item to be
14   placed by defendant's NRA and DOES 1-10 on all three National consumer
15   credit reporting agencies that record and report Plaintiff CARUSO's credit.
16   These very same illegal business activities border on the edge of
17   professional business extortion practices.
18            WHEREFORE, Plaintiff CARUSO demands judgement for damages
19   against Defendants's NRA and DOES 1-10 inclusively, for actual, statutory, and
20   punitive damages, attorney's costs and fees pursuant to 15 U.S.C. §1692(d)(6)
21   (FDCPA) together with such other and further relief as the Court may deem
22   reasonable and just under the circumstances.
23
                                    X. COUNTY
24    VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                  15 U.S.C.~692~~h¥Y DEFENDANTS
25     ECG, MCM, MF, HSBC,ON •     ZON, AND DOES 1 THROUGH 10
26            97,    Plaintiff CARUSO re-alleges and restates all ofthe foregoing
27   jurisdictional allegations and general factual allegations in paragraphs 1 thru 96
28   herein.

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 1          98     Defendants's NRA and DOES 1-10 violated 15 U.S.C. §1692(e)(10)
 2    (FDCPA) by the use of false representation or deception means to collect or attempt
 3    to collect a debt or to obtain information concerning a consumer.
 4          99     Defendants's NRA and DOES 1-10 staff lied to Plaintiff CARUSO on
 5 numerous occasions from May 5,2015 to the present day to gain information about
 6 the Plaintiff CARUSO.
 7          100. 15 U.S.c. §1692(e) states in part;
 8                 A debt collector may not use any false. deceB{ive. or misleading
                   representation or means in connection with e collection of any
 9                 consumer debt.Without limiting the general application of the
                   foregoing. The following conduct is a violation of this section:
10

11          101.    15 U.S.C. §1692(e)(10) states in part;
12                  The use of any false representation or deceptive means to collect
                    or attempt to collect a consumer debt or obtain information
13                  about a consumer.
14          102.    Plaintiff CARUSO received many more than thirty nine (39) illegally
15    placed calls by defendants's NRA and DOES 1-10 staff months after he had
16 requested in writing for certification ofthe alleged consumer debt pursuant to
17    U.S.C.§1692(g)(1)(2)(5)(b), (FDCPA).
18          103     Defendants's NRA and DOES 1-10 not only ignored this same
19    demand for certification/validation of the alleged consumer debt, these above
20    named consumer business entities commenced a campaign for many months to
21    harass, oppress, threaten, confuse and cause the plaintiff CARUSO experience long
22    term emotional distress and confusion.
23          104.    These same more than thirty nine (39) illegally placed calls by
24    defendants's NRA and DOES 1-10 staff constitute more than thirty nine (39)
25    separate and distinct statutory violations as defined by 15 U.S.c. §1692g(1)(2)(5)(b
26    of the (FDCPA) statutes of the United States of America and the California
27    Consumer Protection StatuteslLaws.
28


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 1          WHEREFORE, Plaintiff CARUSO demands judgement for damages against
 2    defendants's NRA and DOES 1-10 for actual, statutory, and punitive damages,
 3    attorney's costs and fees pursuant to 15 U.S.C. § 1692(e)(10)(FDCPA), together
 4    with such other and further relief as the Court may deem reasonable and just under
 5   the circumstances.
 6                                    XI. COUNTVI
               VIOLATION OF FAIR CREDIT REPORTING ACT ~RA).
 7              15 U.S.C. §1681 et sefNWILLFUL OR NON-COMP~T
                            BY DEF DANTS NRAirTU. EIS.
 8                             AND DOES 1 THRO GH 10
 9          105. Plaintiff CARUSO re-alleges and restates all ofthe foregoing
10   jurisdictional allegations and general factual allegations in paragraphs 1 thru 104
11   herein.
12          106.   Defendant NRA is a business entity located in Harrisburg, PA, form
13   unknown, defendant EXPERIAN ("BIS") is a Consumer Reporting Agency as
14    defined by 15 U.S.C. § 1681(t) (hereinafter "CRA"), defendant EXPERIAN
15    ("BIS") is also Consumer Reporting Agency as defmed by 15 U.S.C. §1681(t)
16    (hereinafter "CRA")
17          107.   In or around March 25,2015 Plaintiff CARUSO, who is not a minor,
18    checked his consumer credit report from all three national credit reporting agencies,
19   Experian, Equifax, and Trans Union (collectively "CRAs"), and discovered
20   multiple credit accounts reported by defendants's NRA and DOES 1-10
21    collectively placed at least two separate and individual consumer credit accounts in
22   negative status. These negative credit accounts were unfamiliar to Plaintiff
23    CARUSO, as he did not recall ever opening them and he was never infOrmed bv
24    these furnishers of their negative credit reporting.
25          108.   Examples of one ofthese two negative accounts were placed on the
26   plaintiff CARUSO's consumer credit reports one of which with partial "NRA"
27   Account number # 3689****.
28
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 1          109.    On or about February 2,2015 PlaintiffCARVSO contacted the
 2   defendants's NRA, [a business entity, form unknown], TV, EIS [both being Credit
 3   Reporting Agencies] ("CRA's") and DOES 1-10 disputing in writing the unknown
 4 negative credit accounts being reported by the defendants's NRA, TV, EIS and
 5 DOES 1-10 collectively, pursuant to 15 V.S.C. §1681s-2(b) (FCRA).
 6          110.    On or about March 18, 2015, following his credit bureau disputes,
 7 Plaintiff CARUSO sent letters to these same defendants's NRA, [a business entity,
 8 form unknown], TU, EIS [both being Credit Reporting Agencies] ("CRA's") and
 9 DOES I-lOin which he demanded documentation substantiating the existence,
10   ownership and accuracy ofthe negative consumer credit accounts reported by each
11   ofthem, otherwise their immediate deletion from his credit file.
12          111.    Upon receipt ofp1aintiffs disputes these same defendants's NRA,
13   [a business entity, form unknown], TU, EIS [both being Credit Reporting
14   Agencies] ("CRA's") and DOES 1-10 each continued to report disputed accounts
15   to CRAs, without notice that the accounts had been disputed by plaintiff, all
16   throughout the investigation period and thereafter. They further failed to properly
17   address plaintiffs direct disputes with them andfailed to provide fOr his requested
18   "verification" and ''validation'' for these disputed negative consumer accounts.
19          112.    On or about June of2015 Plaintifffollowed up with the defendants's
20   NRA, [a business entity, form unknown], TU, EIS [both being Credit Reporting
21   Agencies] ("CRA's") and DOES 1-10 and each one ofthem on multiple occasions
22   in writing, resubmitted his requests and demanding immediate deletion ofthe
23   unverified accounts due to lack of verification, but each of these correspondences
24   went unanswered, i'iWored, or were improperly handled and responded to, all of his
25   efforts and correspondences proved unsuccessful in attaining ",a!.!;n~;J..!.!.""'-'~/.!2!..""""-""'+
26   cooperation.
27          113.    Regardless of plaintiffs' numerous attempts to seek defendants'
28   cooperation defendants' each and every one of them continuously, to date, failed to

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 1 answer back to plaintiff with appropriate proof of investigation and verification of
 2    the information in dispute and failed to take corrective action.
 3          114.    These inaccurate consumer credit accounts negatively reflect upon
 4 Plaintiff as a consumer, borrower/debtor and they negatively impact his
 5 creditworthiness and financial standing.
 6          115. Plaintiff CARUSO has suffered financial and emotional distress as a
 7    direct result of defendant's violations, which include but are not limited to the
 8 following:
 9                 a.   Actual damages arising from monetary losses related to denials to
10 new credit, loss of use funds, loss of credit and loan opportunities, excessive and/or
11    elevated interest in financial charges;
12                 b.   Out of pocket expenses associated with communicating with
13    Defendants', disputing the negative credit information, and fees paid to attorneys
14    and credit professionals for the assistance attained in the process;
15                 c.   Emotional distress and mental anguish associated with having
16 derogatory credit information transmitted about Plaintiff to other people both
17    known and unknown·,
18                 d.   Decreased credit score and creditworthiness, which may result in
19    the inability to obtain credit, employment or affordable housing without larger
20    security deposits on future attempts.
21          116.    Defendants' knowingly and willfully violated the FCRA. Defendants'
22    violations include, but are not limited to the following:
23                 a.   Failing to inform plaintiff about negative credit reporting made on
24 his credit report, prior to within five (5) days of furnishing a collection account to
25    the CRAs, in violation of (FCRA) 15 U.S.C. § 1681s-2(a)(7)(A),;
26                 b.   Failing to conduct a proper and complete investigation of disputed
27 negative consumer credit information upon the receipt of Plaintiff TUCK's disputes
28    in violation of (FCRA) 15 U.S.C.§1681s-2(a)(8)(E);

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 1                 c.   Verifying disputed accounts with the CRA' s prior to conducting
 2 through investigation and without having substantiating support for such
 3 verification;
 4                 d.   Reporting disputed information to the CRAs, without notice of
 5    plaintiffs dispute, during the investigation period and prior to providing
 6 verification of accuracy in violation of (FCRA) 15 U.S.C. § 1681 s-2(a)(3);
 7                 e.   Out of pocket expenses associated with the communication with
 8 Defendants, disputing the negative consumer credit information, and fees paid to
 9 attorneys and credit professionals for their assistance attained in the process.;
10          WHEREFORE, Plaintiff CARUSO demands judgement for damages against
11    defendants's NRA, [a business entity, form unknown], TU, EIS [both being Credit
12 Reporting Agencies] ("CRA's") and DOES 1-10 for actual, statutory, and punitive
13    damages, attorney's costs and fees pursuant to (FCRA) 15 U.S.C. § 1681 et seq.
14 together with such other and further relief as the Court may deem reasonable and
15 just under the circumstances.
16

17                                   XII. COUNT VII
              VIOLATION OF FAIR CREDIT REPORTING ACT ~CRAiAN
18       15 U.S.C. §1681b WILLFUL AND/OR KNOWING NON-C MPL   CE
                             DEFENDANTS NRifi: TU. EIS
19                        AND DOES 1 THROUG 10
20          117. Plaintiff CARUSO re-alleges and restates all of the foregoing
21   jurisdictional allegations and general factual allegations in paragraphs 1 thru 116
22 herein.
23          118. The (FCRA), 15 U.S.C.§1681b defines the permissible purpose for
24    which a person may obtain a consumer credit report.
25          119.    Such permissible purposes as defined by I(FCRA) 15 U.S.C.§1681b
26    are generally, ifthe consumer makes application for credit, makes application for
27    employment, for underwriting of insurance involving the consumer, or is offered a
28   bona fide offer of credit as a result of the inquiry.

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 1          120.    Plaintiff CARUSO has never had any business dealings or any
 2    accounts with, made application for credit from, made application for employment
 3    with, applied for insurance from, nor received a bona fide offer of credit from
 4 anylall of the defendants's NRA, [a business entity, form unknown], TU, EIS [bot
 5    being Credit Reporting Agencies] ("CRA's") and DOES 1-10 ,
 6          121.    At no time did Plaintiff CARUSO give his consent for defendants's
 7 NRA, [a business entity, form unknown], TU, EIS [both being Credit Reporting
 8    Agencies] ("CRA's") andDOES 1-10, to acquire his consumer credit report from
 9    any consumer reporting agency ("CRA").
10          122     Defendants's NRA, [a business entity, form unknown], TU, EIS
11    [both being Credit Reporting Agencies] ("CRA's") and DOES 1-10, have
12    demonstrated willful and/or knowing non-compliance with the (FCRA), 15
13    U.S.C.§ 1681 b and repeatedly violating plaintiff CARUSO's right to privacy
14           123.    Defendants's NRA, [a business entity, form unknown], TU, EIS
15    [both being Credit Reporting Agencies] ("CRA's") and DOES 1-10, had a duty to
16 properly ascertain if there was any legitimate permissible purpose before obtaining
17    plaintiffs consumer credit report and Defendants's NRA, [a business entity, form
18    unknown], TU, EIS [both being Credit Reporting Agencies] ("CRA's") and DOES
19    1-10, breached said duty bv failing to do so.
20          WHEREFORE, Plaintiff CARUSO demands judgement for damages against
21    Defendants's NRA, [a business entity, form unknown], TU, EIS [both being
22    Credit Reporting Agencies] ("CRA's") and DOES 1-10, for actual, statutory, and
23    punitive damages, attorney's costs and fees pursuapt to 15 u.S.C. §1681b together
24    with such other and further relief as the Court may deem reasonable and just under
25    the circumstances.
26    III
27    III
28


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 1                                   XIII. COUNT VIII
             VIOLATION OF THE CALIF'ORNIA CONSUMER CREDIT
 2        REPORTING AGENCIES ACT [AGAINST ALL DEFENDANTS]
 3          124. Plaintiff CARUSO re-alleges and restates all of the foregoing
 4 jurisdictional allegations and general factual allegations in paragraphs 1 thru 123
 5 herein.
 6          125. Within one years prior to the filing of the complaint in this action,
 7    defendants's NRA, [a business entity, form unknown], TU, EIS [both being
 8 Credit Reporting Agencies] ("CRA's") and DOES 1-10 , willfully and negligently
 9 violated the California Consumer Credit Reporting Agencies Act in at least the
10    following ways:
11                  a.   By willfully and negligently failing, in the furnishing of derogato
12    credit information for the consumer report concerning plaintiff CARUSO, to follow
13    reasonable procedures to assure maximum possible accuracy of the information in
14    the report;
15                  b.   By willfully and negligently furnishing to credit reporting agencies
16 information about the Plaintiff which defendants's NRA, [a business entity, form
17    unknown], TV, EIS [both being Credit Reporting Agencies] ("CRA's") and DOES
18    1-10 knew, or should have known, was incomplete, inaccurate and/or unverifiable;
19                  c.   By willfully and negligently failing to correct and/or delete the
20    incomplete and inaccurate information in Plaintiffs consumer credit file after
21    conducing an investigation;
22                  d.   By willfully and negligently failing to conduct an adequate
23    investigation of Plaintiffs complaints, and by willfully and negligently failing to
24    implement corrective actions once the outcome of such investigations were known,
25    or should have been known to the defendants's NRA, [a business entity, form
26    unknown], TV, EIS [both being Credit Reporting Agencies] ("CRA's") and
27    DOES 1-10 .
28

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 1                 e.   By willfully and negligently failing to have proper procedures and
 2 apparatus in place which would promptly and accurately delete or correct and
 3 incorrect, incomplete or inaccurate credit reporting.
 4          126.    Each ofthe defendants's NRA, [a business entity, fonn unknown],
 5    TU, EIS [both being Credit Reporting Agencies] ("CRA's") and DOES 1-10
 6 willfully and negligently failed in their obligations to reinvestigate and correct the
 7 derogatory marks in plaintiff s consumer credit reports. Plaintiff CARUSO hereby
 8 . alleges that each of the defendants's NRA, [a business entity, fonn unknown],

 9 TV, EIS [both being Credit Reporting Agencies] ("CRA's") and DOES 1-10
10    inclusive policies and practices hinder and obstruct adequate and meaningful
11    re-investigations, and that each defendant knows of the effect's of their conclusive
12    policies and practices.
13          127. As a proximate result of the willful and negligent actions ofthe
14    defendants's NRA, [a business entity, fonn unknown], TU, EIS [both being Credit
15    Reporting Agencies] ("CRA's") and DOES 1-10 inclusive, and each of them,
16 Plaintiff CARUSO has suffered both general and special damages in an amount
17    which will be proven at time of trial. As provided under the cited laws, plaintiff is
18    entitled to actual damages, loss of wages, damage to credit reputation for may
19 month's of pain and suffering, costs and attorneys fees. Plaintiff is also entitled to
20    punitive damages and statutory penalties for willful statutory violations ofthe
21    California Consumer Credit Reporting Agencies Act.
22                              XlIII. COUNT VIllI
         VIOLATIONS OF THE CALIFORNIA ROSENTHAL FAIR DEBT
23    COLLECTION PRACTICES ACT CALIFORNIA CIVIL CODE 1788 et se .
                        DEFENDANTS NRA. TV. EIS
24                 AND DOES 1 THROUGH 10
25          128. Plaintiff CARUSO re-alleges and restates all ofthe foregoing
26 jurisdictional allegations and general factual allegations in paragraphs I tbm 127 herein.
27          129. Plaintiff CARUSO is a consumer within the meaning of
28    15 U.S.C. §1692 et seq. (FDCPA)

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 1          130   Defendants's NRA, [a business entity, form unknown],
 2   TU, EIS [both being Credit Reporting Agencies] ("CRA's") and DOES 1-10
 3 inclusive, are seeking to collect an alleged consumer debt from Plaintiff CARUSO
 4    as defined by California Civil Procedure § 1788(f) (CRFDCPA).
 5          131. The alleged defendants's NRA, [a business entity, form unknown],
 6   TU, EIS [both being Credit Reporting Agencies] ("CRA's") and DOES 1-10
 7 inclusive, consumer debt account in question is a consumer transaction as defmed
 8 by California Civil Procedure § 1788(e), (CRFDCPA) as the Plaintiff CARUSO has
 9 allegedly received property, services or money from defendants's NRA,
10    [a business entity, form unknown], TU, EIS [both being Credit Reporting
11   Agencies] ("CRA's") and DOES 1-10 inclusive, or an extension of credit, and such
12   property, services or money was used primarily for personal, family or household
13   purposes.
14          132. Defendants's NRA, [a business entity, form unknown],
15   TU, EIS [both being Credit Reporting Agencies] ("CRA's") and DOES 1-10
16   inclusive, also violated § 1788.11(d) of the California Rosenthal Fair Debt
17   Collection Practices Act (CFDCPA) by placing collection calls to the Plaintiff s
18   cellular phone repeatedly and continuously so as to armoy, harass or embarrass the
19 Plaintiff. PlaintijfCARUSO contends he has always paid all o/his consumer bills
20    in as timely manner as possible.
21          133. Defendants's NRA, [a business entity, form unknown],
22   TU, EIS [both being Credit Reporting Agencies] ("CRA's") and DOES 1-10
23   inclusive, violated §1788.17 of the California Rosenthal Fair Debt Collection
24   Practices Act (CFDCPA) by placing numerous harassing debt collection calls to the
25   plaintiff with such frequency as to be unreasonable and to constitute direct
26   intentional harassment of the plaintiff under the circumstances.
27          134 Defendants's NRA, [a business entity, form unknown], TU, EIS
28    [both being Credit Reporting Agencies] ("CRA's") and DOES 1-10 also violated

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 1 Section § 1788.17 of the California Rosenthal Fair Debt Collections Practices Act
 2 (CFDCPA) by continuously failing to comply with the statutory regulations
 3 contained within the United States Fair Debt Collection Practices Act (FDCPA)
 4    15 U.S.C. §1692 et seq.
 5          WHEREFORE, Plaintiff CARUSO demands judgement for damages
 6    against defendants's NRA, [a business entity, form unknown], TU, EIS
 7    [both being Credit Reporting Agencies] ("CRA's") and DOES 1-10 , for actual
 8 statutory and punitive damages, attorney's fees pursuant to §1788.30(b) and costs
 9 pursuant to § l788.30(c), the California Rosenthal Fair Debt Collection Practices
10 Act CC1788 et seq., together with such other and further relief as the Court may
11    deem reasonable and just under the circumstances.
12                                        PRAYER
13          I, RICHARD CARUSO, the Plaintiff In Pro Se, in the above-entitled
14    Complaint respectfully prays for judgment as follows:
15          1. For actual, general and special damages according to the proof at trial;
16          2. For statutory penalties or civil penalties for each separate statutory
17             violation where allowed by statute.
18          3. For punitive damages against Defendants according to proof at trial and
19             using the applicable punitive damages standards from the involved
20             statutes;
21          4. For attorney's fees where authorized by statute or law;
22          5. For costs and expenses of suit; and
23          6. For such other relief as the court deems just and proper.
24          PLAINTIFF DEMANDS A JURY TRIAL
25

26
                     aA                              ifJ!..O     r       ._
27   Dated this 'J        day of March 2016 By: _ _-,--U~
                                                     _ _ _~
                                                          _ _ _ _ _ _ __
28                                             RICHARD CARUSO, Plaintiff In Pro Se

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                          VERIFICATION
 1           DECLARATION OF PLAINTIFF' - RICHARD CARUSO
 2                     I, RICHARD CARUSO, declare as follows:
 3           132. I am the In Pro Se Plaintiff in the above-entitled Ninth Circuit
 4    District case.
 5           133. I am of age, sound mind and competent to testifY to all of the facts
 6 based on first-hand knowledge of all of the aforementioned items so stated.
 7           134. I have been damagedjinancially, socially and emotionally since
 8    May 16, 2013 as a direct result of defendants's NRA, [a business entity, form
 9 unknown], TU, EIS [both being Credit Reporting Agencies] ("CRA's") and
10    DOES 1-10 inclusively, unlawful actions and conduct including more than thirty
11    nine (39) calls to my cellular phones.
12          135. I have read the foregoing pleading's in their entirety and believe all of
13    the fact's therein so stated to be both true and correct.
14          136. I declare under the penalty of perjury pursuant to the laws of California
15    and the Courts ofthe United States, that the foregoing is true and correct to the best
16    of my knowledge, information and belief.
17          137. Plaintiff CARUSO demands judgement for damages against
18    defendants's NRA, [a business entity, form unknown], TU, EIS [both being Credit
19    Reporting Agencies] ("CRA's") and DOES 1-10 inclusively, for actual, statutory,
20    and punitive damages, attorney's costs and fees pursuant to pursuant to § 1788.30(b)
21    and costs pursuant to §1788.33(c) together with such other and further relief as the
22    Court may deem reasonable and just under the circumstances.
23    III
24    III
25    III
26    III
27    III
28

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 1                             DEMANDFORJURYT~

 2         138. Plaintiff RICHARD CARUSO hereby demands a trial by jury of all
 3 issues so triable as a matter oflaw.
 4   Respectfully submitted to this court this   ;;:z,~ay of March 2016.
 5
 6       ~            ~

 7 RICHARD CARUSO, Plaintiff In Pro Se.
   1600 E. Vista Way #85
 8 Vista, CA 92084
   Ph: 760-888-7418
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